        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 1 of 59




                      UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

BILLY DENNIS AND LISA DENNIS,
INDIVIDUALLY AND AS PARENTS AND
NEXT OF FRIENDS OF THEIR MINOR
CHILD, A.D.

                      ~laintiffs,                                11@3
                                                   Civil Action No. - - - - - -


               vs.                                 WRY TRIAL REQUESTED
                                                                                          FILED
PFIZER, INC., PHARMACIA
CORPORATION, PARKE, DAVIS & CO.,
                                                                                          JUN,' ~2018
WARNER LAMBERT COMPANY, AND                                                            ~MAN, Clerk
WARNER LAMBERT COMPANY, LLC                                                           By   Dep. Clerk

                      Defendants.

                              PLAINTIFFS' ORIGINAL COMPLAINT

       Plaintiffs Billy Dennis and Lisa Dennis, Individually and as Parents and Next Friends of

their Minor Child, A.D. (collectively "Plaintiffs") file their Complaint against Defendants Pfizer,

Inc. ("Pfizer"), Pharmacia Corporation ("Pharmacia"), Parke, Davis & Co. ("Parke Davis"),

Warner Lambert Company ("Warner Lambert"), and Warner Lambert Company, LLC ("Warner

LLC" and collectively, "Defendants"). Plaintiffs request a trial by jury.

                             I.      NATURE OF THE ACTION

       This is a product liability action to recover damages for the catastrophic and irreparable

injuries sustained by minor Plaintiff A.D. Following his ingestion of Defendants' blockbuster

anti-epileptic drug, Dilantin, A.D. suffered a severe and permanent cerebellar atrophy reaction

that rendered this at-the-time four-year-old young boy mentally challenged, wheelchair bound

and dependent on his parents and caregivers for the rest of his life. A.D.'s cerebellar atrophy

reaction was the direct and proximate result of Defendants' wrongful conduct in connection with




                                                                                             PAGE 1
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 2 of 59




the design, manufacture, labeling, sale, testing, marketing, advertising, promotion, and/or

distribution of Dilantin.

                                        II.    PARTIES

       2.      Plaintiffs are citizens and residents of Havertown, Pennsylvania.

       3.      Defendant Pfizer is a Delaware corporation with its principal place of business at

235 East 42nd Street, New York, New York 10017.

       4.      Defendant Pharmacia is a Delaware corporation with its principal place of

business located at 100 Route 206 North Peapack, New Jersey 07977.

       5.      Defendant Parke Davis has its principal place of business at 235 East 42nd Street,

New York, New York 10017.

       6.      Defendant Warner Lambert is a Delaware corporation with its principal place of

business at 235 East 42nd Street, New York, New York 10017.

       7.      Defendant Warner LLC is Delaware limited liability company with its principal

place of business at 235 East 42nd Street, New York, New York 10017.

                            III.    JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction over this lawsuit pursuant to 28 U.S.C.

§ 1332 because there is diversity of citizenship between the parties and the amount in

controversy exceeds $75,000, exclusive of interest and costs. The Court has jurisdiction over

Defendants because they engaged in business in this judicial district in connection with the

transactions and occurrences giving rise to this action, and because the wrongful conduct

challenged herein was directed at, took place in, and/or had foreseeable injurious effects in this

judicial district and the State of Pennsylvania. The Court also has exercise jurisdiction over

Defendants because they have sufficient minimum contacts in Pennsylvania and intentionally




                                                                                            PAGE2
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 3 of 59




avail themselves of the markets within Pennsylvania through the promotion, sale, marketing, and

distribution of their products in Pennsylvania, thus rendering the exercise of jurisdiction by this

Court proper and necessary. Each Defendant is licensed to conduct and/or is systematically and

continuously conducting business in the State of Pennsylvania, including, but not limited to,

marketing, advertising, selling, and distributing drugs including Dilantin to residents of

Pennsylvania. Defendants have continuously and systematically engaged in business in this

judicial district and the State of Pennsylvania such that they have subjected themselves to

personal jurisdiction in this Court for all purposes.

        9.      Venue is proper in this judicial district pursuant to (i) 28 U.S.C. §1391(b)(2),

because a substantial part of the events or omissions giving rise to the claim occurred in this

judicial district; and (ii) because Defendant regularly and systematically conducts business in this

judicial district including, without limitation, the transactions at issue in this action.    Venue is

also proper in this judicial district pursuant to 28 U.S.C. §1391(a)(2) because Plaintiffs' claims

arose from events taking place within this judicial district and Plaintiffs reside in this district

                               IV.     FACTUAL BACKGROUND

A.      Overview of the Case

        10.    Dilantin (phenytoin) is an anti-seizure medication that has been designed,

developed, manufactured, advertised, and distributed by Defendants and/or their predecessors

since 1939. Since that time, the global epilepsy market has emerged as a multi-billion dollar

enterprise for pharmaceutical companies. In the last few years alone, Defendants have reaped

hundreds of millions of dollars in sales from their blockbuster drug.             Across the decades




                                                                                                 PAGE3
           Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 4 of 59




following product launch, Defendants have sold billions of dollars of Dilantin throughout the

world. 1

           11.   Cerebellar atrophy is an undeniably severe and permanent side effect of Dilantin.

It is the process in which neurons in the cerebellum - the area of the brain that controls

coordination, balance, speech, cognition and emotions - deteriorate and die leading to shrinking

of the cerebellum and, subsequently, to irreversible and catastrophic balance, speech, memory

deficits and potential death. Despite scientific literature, adverse event reports, and safety signals

clearly identifying Dilantin as a primary cause of cerebellar atrophy, Defendants chose not to

include any reference to cerebellar atrophy in its U.S. Dilantin label until June 2016.

B.      Mechanism of Injury

           12.   Cerebellar atrophy is a devastating disease that impacts motor function,

coordination, memory and ability to speak. It is a process in which neurons (nerve cells) in the

cerebellum - the area of the brain that controls coordination and balance - deteriorate and die.

The most characteristic symptom of cerebellar atrophy is a wide-based, unsteady, lurching walk,

often accompanied by a back and forth tremor in the trunk of the body. Other symptoms include

difficulty speaking and swallowing; slow, unsteady and jerky movement of the arms or legs;

slowed and slurred speech, and nystagmus. There is no cure for Dilantin-induced cerebellar

atrophy.

           13.   Dilantin (phenytoin) causes cerebellar atrophy. In particular, Dilantin causes

pathologic alterations, loss of Purkinje cells, Bergmann gliosis, and granule cell damage with

shrinkage of cerebellar white matter through the secondary degeneration of axons. Dilantin

decreases glutamic acid and increases gammaaminobutyric acid (GABA) concentration in the

1
  From 1939 through 1976, Defendants retained 95% of the market share of epilepsy drugs sold in the U.S. From
1976 through 1999, Dilantin Kapseals was the only drug approved by the FDA as extended release phenytoin
sodium capsules.




                                                                                                      PAGE4
          Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 5 of 59




brain. GABA is a major neurotransmitter in the cerebellum and is the pathway through which

Dilantin controls the spread of seizures.

          14.   Repeated doses of Dilantin at pathologic levels can overstimulate Purkinje cells,

resulting in their death. Dilantin-related damage of Purkinje cell axons is initiated by an intrinsic

ability of these neurons to induce microsomal enzymes with proliferation of the smooth

endoplasmic reticulum (SER).

          15.   Dilantin has a propensity for the cerebellum. The specific binding site for

phenytoin is in the vicinity of Purkinje cells and granule cells. Phenytoin induces increased

firing rates in cerebellar neurons.    The increased neuronal activity is harmful to cerebellar

neurons. The neural target cells are stimulated by DPH to synthesize, at high rates, components

of the cytochrome P-450 containing enzyme system. This inducibility and resulting

overexpression of a cytochrome P-450 fraction correlate with the enlargement of SER

compartments in cerebellar neurons during the course of phenytoin treatment.

          16.   The accumulation of vesicles and tubules in the distal regions of Purkinje cell

axons leads to their local dilatation and can cause disturbances of synaptic transmission to

cerebellar neurons. The selective vulnerability of cerebellar neurons to phenytoin documented by

structural, functional and biochemical changes is the cause of severe motor disturbance and

ataxia.

          17.   These pathophysiological mechanisms have been well-documented in the

scientific literature and have been corroborated in human autopsy studies in patients with

Dilantin-induced cerebellar atrophy.

          18.   The schematics below show the anatomy of the cerebellum and the cerebellar

circuitry that is impacted by cerebellar atrophy:




                                                                                              PAGES
Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 6 of 59




                                                 B
                                                                Anterior lobe




                                                                                                       figure5.2
                                                                                               (A) Cerebellar deep nudei
                                                                                                 and cerebellar cortex in
                                                                                               an idearaed brain section.
                                                                                                (B) External morphology
                                                                                                   of the cerebellum.




                                                 /
                                                                                       Inhibitory
                                                                                   _vsynapse
                                Mossy fiber from
                     Cerebellum multiple sourees---""11'--•                 Cerebellar
                                                                            deepnuclel
                                                                                        ~
                       Input
                                         Climbing fiber /
                                      {from Inferior olive)                            Cerebellum


                                               figureS.6
      Cerebellar circuitry. This basic pattern is repeated throughout all regions of the cerebellum.




19.        The effects of cerebellar atrophy include, but are not limited to, the following:

•     Gait/balance/walking/posture abnormalities: Difficulty maintaining normal upright

      posture, balance, coordinated walking, and running. Unsteady gait, staggering,

      tripping, faUing, unsteadiness on stairs or maintaining balance.




                                                                                                                   PAGE6
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 7 of 59




       •     Fine motor incoordination: Difficulty with handwriting, cutting food, opening jars,

             buttoning clothes, sewing, typing, playing an instrument or sport.

       •     Speech and swallowing difficulties: Slurred, slow, indistinct speech, abnormal in

             rhythm. Difficulty swallowing or choking (dysarthria and dysphagia).

       •     Visual abnormalities: Blurred vision or double vision. Difficulty moving from word

             to word. Problems following moving objects or shifting gaze from one object to

             another.

       •     Increased fatigue: Unexpected fatigue when performing normal activities due in part

             to the need to expend more effort to perform activities that are no longer fluid or

             coordinated. Patients often report needing to "concentrate on" their movements.

       •     Cognitive and mood problems: Cognitive and emotional difficulties. The cerebellum

             plays a role in some forms of thinking. Patients with cerebellar atrophy may

             expenence impaired recall of new information or difficulty with "executive

             functions" such as making plans and keeping thoughts in proper sequence.

             Personality and mood disorders, such as increased irritability, anxiety, and depression

             are more common in persons with cerebellar atrophy.

The devastating symptoms of cerebellar atrophy are permanent.

C.     Defendants Have Known That Dilantin Causes Cerebellar Atrophy for Over 70

       Years

       20.      For over 70 years, Defendants have known there is a causal relationship between

Dilantin exposure and cerebellar atrophy. Despite Defendants' safety signal analysis on the risk

of cerebellar atrophy, scientific literature, and adverse event reports, Defendants' Dilantin label

did not mention the reaction- even once - until June 2016.




                                                                                              PAGE7
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 8 of 59




       21.    The scientific literature and studies establishing Dilantin as a cause of cerebellar

atrophy include:

             1940   WHHamson                     1988    Botez et al.
             1942   Finkelman                    1989    Keier and Volk, et al.
             1954   Livingston                   1991    Abe, et al.
             1958   Utterback. et al.            1994    Ney, et al.
             1958   Hofmann                      1994    leuf etal.
             1965   Kokenge                      1998    Volk, et al.
             1966   Dam                          1998    livainen
             1969   Logan and Freeman            1998    Pulliainen et al.
             1974   Hvainen et al.               2000    Del Negro, et al.
             1976   Ghatak et al.                2001    Tan, etal.
             1977   Rappaport and Shaw           2003    De Marco, et al.
             1977   Hvainen et al.               2004    Koller, et al.
             1978   Heim, et al.                 2011    Se:orza, et al.
             1980   McCain, et al.               2011    Scorza, et al.
             1984   lindvaU, et al.              2013    Twardowse:hy, et al.
             1984   Baier et at.                 2013    Sharma, et al.
             1988   Volk, et al.                 2013    Gupta, et.
                                                 2013    Shukla

       22.    In addition to the articles cited above, four different case-control and a case-

cohort study confirmed the causal relationship between Dilantin and cerebellar atrophy. The

pertinent findings from these case-controlled studies are summarized below.




                                                                                           PAGES
                Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 9 of 59




                                L'ICIDE~CE/FREQl'E~CY                                      OF CEREBELLAR ATROPHY FRO'.\f PHENYTOlN
                                                                          FROM CASE-CONTROL/COHORT OR CASE SERIES
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                 Cert'bellnr          lltroph~"     has nn estimated pre.-alencelindde11ce of betn een 21 % nnd 64% lo these patients.




      't1vana1nen, M. et al "Cerebellar Atro;ihy In Phenytom-Treated Mentally Retard.ed Pat1enu,~ E:ptltP.Jta, 13($)· 37S.a86 U977J·
      "'Sotez, Ml. "Cerebeitar Atr-ophv in Eptliwbt Patient$." Can J Narro! Sa, 15:299-30.3 U93S};
      '" Nev. G, et -al "Cerebellar Atro?hv m Patients wrth I.Ong.term Phenytotn Expo$ure- and Epilepsy,~ Arch Neurot. 51:767-171 t 1994)
      !(>teuf. G, et al "Phenytom Overdosage and CerebeHar Atrophy In Ep1!ept1c Patients' C1in1cGI and f\1RI findings.~ Eur Neural. 315uppt1);79-S1 ( 1994)
      '
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              Oei Negro, A, et-al.,   "O<ts.e~Oepe~el'lt      Relat1onsh!p Stttween Chronk: Treatment With Pne-nvtoin and Cerebeltar Airophy in Epilepsy Patjents ·· D,tch ttaurops\-'ChtAtrtt, 58{2-AJ 276-281
      1
          ~ Oe- Marco. FA.et al "Cerebellar Vohlme and Lona:~term us.e of Phet1yto1n," Seuure. 12.312:-315 (2003),
      '
          1
              lwardoowschv. CA et at, ''The rote of CYP2C9 pot'{morphisms m phenvtcln-.re!ated cerebeUar atrophy,''Setture,              22'.194~197   {20Ui




               23.                 In addition to the severe and permanent effects of cerebellar atrophy described

above, the scientific literature attributes dozens of deaths to Dilantin/phenytoin-induced

cerebellar atrophy. Even today, the Dilantin label does not warn of the risk of death from

Dilantin-induced cerebellar atrophy.

D.             Time to Onset of Cerebellar Atrophy from Dilantin Exposure

               24.                Numerous scientific studies have shown that the time to onset for the

development of permanent, irreversible cerebellar degeneration and cerebellar atrophy can occur

within one day to years after exposure to Dilantin.

               25.                Defendants have known for decades that chronic, long term therapy with Dilantin

increases the risks of cerebellar degeneration and atrophy in people of all ages. Extensive human

and animal studies also establish short term exposure to normal or high doses of Dilantin can




                                                                                                                                                                                                                  PAGE9
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 10 of 59




cause permanent, irreversible cerebellar degeneration and atrophy. Despite their longstanding

awareness of these risks, Defendants have never warned of the risk of cerebellar atrophy from

short-term or long-term Dilantin exposure.

       26.      HUMAN EXPOSURE STUDIES

    PAPER/YEAR          TIME TO ONSET              PATHOLOGICAL/             AGE/SEX
                          CEREBELLAR               RADIOGRAPHIC
                       DAMAGE/ATROPPY                  EVIDENCE
   1957-               3-4 weeks of exposure    Clinical evidence               NIA
   Utterback,                   to
   RA-                                                                        Seizure
                        therapeutic range of                                  patient
   Parenchymato                PHT
   us Cerebellar
   degeneration
   Complicating
   Dilantin
   Theranv"
   1958-Hoffman,       16 days of exposure to   Post-mortem exam                28/F
   WH-                     Dilan:tin/Died       showed exclusive               seizure
                                                pathological evidence of       patient
   "Cerebellar               exposure to        cerebellar degeneration,
   Lesions after                                and ruled out other
   parenteral           therapeutic range of    causes
   administration              PHT
   "
   1977-                30 days exposure to     PEG measurement of           Mean age
   Iivanainen, et                                                            was 16.3
   al.                  therapeutic range of    4th ventricle                 years
                               PHT
   Cerebellar                                                                (mentally
   Atrophy in                                                                 disabled
   Phenytoin-                                                                patients)
   Treated
   Mentally
   Disabled
   Patients

   (See also
   Iivanainen-
   1983
   confirming
   short term
   onset)
   1977-                6 weeks exposure to     Postmortem pathological         47/F
   Rappaport &                                  examination of
   Shaw                 therapeutic range of    cerebellum confirmed          With no
                                                cerebellar                    seizure



                                                                                       PAGE 10
   Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 11 of 59




"Phenytoin-                PHT              degeneration/atrophy         disorder
Related
Cerebellar
degeneration
without
seizures"
1984-Lindvall,     30 days exposure to      CT scans.                    251m with
et al.                                                                   no seizure
                   therapeutic range of     "In our opinion the           disorder
Cerebellar                PHT               protracted cerebellar
Atrophy                                     dysfunction and the
following                                   cerebellar atrophy
Phenytoin                                   demonstrated by CT
Intoxication                                Scans were closely related
                                            to short-tern phenytoin
                                            intoxication."
1988-Botez, et     30 days exposure to      CT scan confirming             NIA/
al.                                         cerebellar atrophy within
                   therapeutic range of     1 month of starting
"Cerebellar               PHT               Dilantin
Atrophy in
Epileptic
Patients"
1990-Masur, et       1 day Overdose         CT/MRI showed                  NIA
al.                                         cerebellar atrophy
                    In Patient with no      findings similar to those
"Cerebellar              seizures           findings of patients with
Atrophy                                     chronic exposure to PHT,
following                                   which means that acute
Acute     '                                 exposure can cause CA
intoxication
with
Phenvtoin"
1992-             4-7 weeks progressively   CT scans showed                39/M
Imamura, et            developed on         cerebellar atrophy after
al.                 therapeutic doses of    starting PHT for several
                           PHT              weeks and CT performed
"Cerebellar                                 before showed no
atrophy and                                 cerebellar atrophy
persistent
ataxia
following acute
intoxication of
phenvtoin"
1997-              Took twice the dose      MRI showed cerebellar          38/M
Kuruvilla, et       prescribed for 2-3      atrophy upon admission
al.                weeks at 600 mg per      and other causes were
                           day              ruled out
"Cerebellar
Atrophy After
Acute
Phenvtoin




                                                                                  PAGE 11
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 12 of 59




     Intoxication"
     1998-                Randomized controlled        CT scan showed severe              17/F
     Pulliainen, et       trial of patient who had     cerebellar atrophy in a
     al.                     90 day exposure to        patient with prior CT
                            therapeutic doses of       scan that was normal just
     "A case of                      PDT               prior to starting PDT
     Cerebellar
     Atrophy after
     Phenytoin
     Intoxication,
     Neurologic,
     Neuroradiologi
     c, and
     Neuropsycholo
     gical Findings"
     1999-Awada,          10 day exposure to high      CT/MRI showed mild                30/M
     et al.                    doses of PDT            cerebellar atrophy

     "Residual
     cerebellar
     ataxia
     following acute
     phenytoin
     intoxication"

E.      At-Risk Subpopulations

        25.      Defendants have also known that certain subpopulations are particularly at risk

for the development of cerebellar atrophy. These uniquely at-risk subpopulations include:

        •     pediatric population;

        •     people with intellectual disabilities and people with pre-existing brain injuries;

        •     pregnant women and infants;

        •     poor metabolizers;

        •     females; and

        •     the elderly population.

     1. Pediatric Population, the Intellectually Disabled, and Persons with Pre-Existing
         Brain Injuries are at Increased Risk

        26.      Defendants have known that children, the intellectually disabled, and individuals

with pre-existing brain injuries are at an increased risk of cerebellar atrophy from Dilantin. More




                                                                                                   PAGE12
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 13 of 59




than 20 scientific articles have been published establishing the increased risk of cerebellar

atrophy to these subpopulations from Dilantin. Despite this extensive literature, Defendants'

Dilantin label did not reference cerebellar atrophy until June 2016. Even today, Defendants'

Dilantin label - which first mentioned cerebellar atrophy less than two years ago - does not

reference an increased risk to any subpopulation, including children, the intellectually disabled,

or individuals with pre-existing brain injuries.

    2. Poor Metabolizers of Dilan tin and the Extended Half Life of the Drug

       27.     Phenytoin has a narrow therapeutic window. As a result, a fine balance must be

struck between efficacy and dose-related side effects. Any factor which changes the protein

binding of phenytoin can alter phenytoin levels, resulting in significant neurotoxicity, including

cerebellar degeneration and cerebellar atrophy.

       28.     Phenytoin demonstrates non-linear pharmacokinetics even within the therapeutic

range. Specifically, the enzyme system involved in phenytoin metabolism gradually becomes

saturated, resulting in a decrease in the rate of elimination of phenytoin as the dose is increased.

This means that once the enzyme system becomes saturated with phenytoin, even a small change

in the dose of phenytoin can lead to a large change in phenytoin levels and significant toxicity.

       29.     Further, phenytoin concentrations leading to enzyme saturation vary considerably

between individuals. Thus, patients taking the same dosage can have up to a 50-fold difference in

plasma phenytoin concentration (inter-individual variability). For these reasons, monitoring of

phenytoin levels should be required to ensure therapeutic efficacy in every individual patient.

       30.     The long half-life of phenytoin also increases the risks of serious adverse effects,

including cerebellar atrophy. The prescribing information for Dilantin or Epanutin (its E.U.

equivalent) reports that the drug's half-life can range from 11-146 hours, with a typical half-life




                                                                                            PAGE 13
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 14 of 59




of 20-60 hours. Half-lives of Dilantin can be prolonged with small dosages due to the saturation

kinetics and resultant drug accumulation with reported half-lives of up to 500 hours.

         31.      Certain racial populations, including Caucasians and African Americans can

possess a genetic predisposition that can render them unable to safely metabolize Dilantin. This

genetic predisposition can lead to Dilantin toxicity even under normal dosing.                     Studies have

shown that genetic testing can eliminate or reduce the potential for irreversible cerebellar

atrophy.       In order to prevent and monitor the elevated risk of cerebellar atrophy in poor

metabolizers and other at-risk subpopulations, genetic testing should be performed prior to

initiating therapy with phenytoin in epileptic patients.

     3. Pregnant Women and Infants are at Increased Risk

         32.      Defendants have known about the heightened risk of Dilantin-induced cerebellar

atrophy and cerebellar degeneration to unborn fetuses and infants. By 1980, scientists reported

an increased risk of cerebellar atrophy in fetuses or infants from mothers who took Dilantin

during their pregnancies. 2       The validity of the causal connection is further evidenced through

animal studies reflecting that phenytoin causes brain damage when administered early in

development in laboratory animals. 3

        33.       Despite their awareness of Dilantin's propensity to cause permanent life-long

cerebellar injuries and even death to infants, the Dilantin label does not warn of the potential of

injury and cerebellar atrophy in fetuses or warn that the drug should not be used when pregnant

due to the risk of cerebellar atrophy.
2
   Mallow, et al. Arch Pathol Lab Med 104:215-218, 1980) (Gadisseux JF, "Pontoneocerebellar hypoplasia--a
probable consequence of prenatal destruction of the pontine nuclei and a possible role of phenytoin intoxication,"
Clin Neuropathol. 1984 Jul-Aug; 3(4):160-7.
3
  Gestational exposure of PHT in rats can reduce whole brain weight (Tachniba, et al. 1996), delay maturation of
reflexes (Dam 1972), and alter postnatal behaviors such as increased spontaneous locomotion Pizzi, et al. 1992), as
well as learning impairments (Vorhees et al. 1987 and Adams, et al. 1990). (Hatta, et al., "Neurotoxic
Effects of Phenytoin on Postnatal Mouse Brain Development Following Neonatal Administration,"
Neurotoxicology and Teratology, Vol. 21, No. 1, pp. 21-28, 1999).




                                                                                                          PAGE 14
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 15 of 59




     4. Females are at Increased Risk

        34.       Defendants knew that females are at higher risk of cerebellar atrophy and to an

increased susceptibility in females to Dilantin neurotoxicity, including cerebellar atrophy and

peripheral neuropathy.

        35.       Defendants' Dilantin label to this day does not warn of the increased risk of

cerebellar atrophy to females.

     5. The Elderly are at Increased Risk

        36.       Defendants also knew the elderly population is also at an increased risk of

cerebellar atrophy and related injuries from Dilantin.

        37.        Despite the elevated risk to these subpopulations, Defendants have not provided

this safety information to the FDA, physicians or patients or revised their label to warn of the

increased risk of cerebellar atrophy to the elderly.

F.    Folate Supplementation as an Available (But Undisclosed) Potential Treatment for
      Certain Patients with Cerebellar Atrophy

        38.      Folate are forms of folic acid and B vitamins. Long-term phenytoin therapy can

depress folate levels in serum, red blood cell, or cerebrospinal levels in a high proportion of

patients.     Phenytoin has also been shown to interfere with folate transport into the nervous

system. Reduction in folate can increase the neurotoxicity from phenytoin and plays a role in the

development of cerebellar ataxia and cerebellar atrophy.

        39.      Although folate therapy has emerged as a potential treatment for some patients

with cerebellar atrophy, Defendants have not provided recommendations, directions for use, or

warnings regarding the effects of reduced folate in phenytoin users to physicians or consumers.

        40.       Further, even though Defendants recommend the use of folate therapy for

phenytoin patients who develop anemia, Defendants' label and safety communications do not




                                                                                           PAGE15
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 16 of 59




propose the use of folate supplementation to prevent or treat cerebellar degeneration or cerebellar

atrophy.

G.     Defendants Tested Chantix as a Treatment for Cerebellar Atrophy

       41.     Defendants developed and marketed Chantix as a smoking cessation drug.

Chantix was approved by the FDA on May 10, 2006, and by 2008 sales had reached nearly $900

million. In addition to marketing Chantix as a drug that reduces the urge to smoke, Defendants

sponsored patents and several studies aimed at marketing (and profiting from) Chantix as an

effective treatment for Dilantin-induced cerebellar ataxia.

       42.     Defendants' patent studies, patent applications, and analysis of the potential for

off-label marketing of Chantix to treat cerebellar atrophy and its sequelae not only evidence

Defendants' keen awareness of the risk of cerebellar atrophy from Dilantin, but also show that

Defendants intend to profit from the treatment of cerebellar atrophy caused by their other drug,

Dilantin.

H.     Dilantin Lacks Efficacy

       43.     Dilantin has an extended regulatory history spanning nearly 80 years. Dilantin

has been marketed in the United States since 1939 for the control of status epilepticus for grand

mal seizures and the prevention and treatment of seizures during neurosurgery.           Dilantin,

however, was not approved by the FDA under the 1962 FDCA amendments that require proof of

safety and efficacy based on two well-designed and controlled clinical trials. Instead, in 1970,

the FDA issued a Drug Efficacy Study Implementation (DESI) notice informing phenytoin

manufacturers that several different indications lacked efficacy and safety. At that time, the

FDA announced that Parke Davis would be required to submit an NDA or SNDA to continue to




                                                                                           PAGE16
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 17 of 59




market certain forms of Dilantin. A few forms of Dilantin were approved through the DESI

process in 1970, including NDA 10-151 and NDA 8-762.

       44.     In 1976, the FDA issued an additional DESI notice that notified all phenytoin

makers that the FDA considered phenytoin to be a new molecular entity that would require an

NDA for all types of non-controlled release oral forms of phenytoin subject to the requirements

of Section 505. Within the same DESI notice, the FDA notified manufacturers of all other forms

of Dilantin, including combination products, that it would require an ANDA in order to continue

marketing the product in the United States.

       45.     For the ANDA to be approved, all sponsors (including Parke Davis), were only

required to show that the drug was bioequivalent to their reference standard for phenytoin

dissolution and pharmacokinetics. As a result, Parke Davis has never conducted the full-scale

clinical trials that it should have conducted to prove the efficacy and safety of Dilantin.

       46.     Thus, Parke Davis' ANDA 84-349 for Dilantin Kapseals, 30 and 100 mg. was

approved in 1976, not based on two well-controlled trials that established safety and efficacy, but

by merely showing that the product was bioequivalent to one of their own drugs, Dilantin.

       4 7.    Clinical and scientific evidence has revealed testing mechanisms that allow for

the safer use of Dilantin. Specifically, genetic phenotyping or screening and detection of poor

metabolizers are now readily-available safety options.          Defendants, however, have never

recommended genetic testing for at-risk subpopulations or U.S. consumers.

       48.     Since the introduction of Dilantin in 1939, the FDA has approved over 30 AEDs.

The schematic below identifies the various anti-epileptic drugs approved and the length of time

that they have been available to prescribing physicians in the U.S.:




                                                                                              PAGE17
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 18 of 59




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                       111$0                           1910       1'10       ltsO       1910       Ifft!     20!0
                                                         Year of lntroducdol'I
        Figure I.
        lntroducooo of AIDs to the market from lllSl to 2009 ~adapted from data by Shof'Von, 2oo<Ja.bJ L1ren$lllg >'al!!!d from coimtry to
        c:oumry. We gwc here the year olfim licensing or tlw Int rncnoon of dinial use ma country of Europe. the Umtt>d States. or Japan
        (see Shol'VOl'I, 200'hb. !or further oouuli). We !rave not 1'11dudcd af. dimwuves of l!Stcd AEOs or AEOs used solely for tream""'1t of
        status <>pi!epticus.
        Efl•'ll~ILAE




        Since Dilantin (a first-generation AED), came on the market in 1939, numerous other

safer alternative AEDs have emerged. Several leading neurology expert panels in the U.S. and

around the world have evaluated the risks and benefits of Dilantin and determined that it should

not be used as a first line agent to treat seizure disorders.

        49.         The International League Against Epilepsy (ILAE) is the world's preeminent

scientific body devoted to the study of epilepsy. In 2005, experts retained by the ILAE analyzed

the scientific data for efficacy of AEDs. Following this review, the ILAE concluded that i) no

randomized controlled clinical trials existed to establish the efficacy of phenytoin to treat seizure

disorders, and ii) it would not recommend phenytoin as a first-line treatment for seizures.




                                                                                                                                                 PAGE18
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 19 of 59




        50.     The National Institute for Health and Care Excellence (NICE) is the independent

organization based in the United Kingdom responsible for providing evidence-based guidance on

health care. Based on its review of randomized clinical trials and meta-analyses of published

papers, NICE also does not recommend phenytoin as a first-line drug for any seizure type or

epilepsy syndrome. 4

        51.     In December 2016, Pfizer and its U.K. affiliate, Flynn Pharma Ltd., were fined

$106 million by the U.K.'s Competition and Markets Authority for abusing their dominant

market position in the U.K. through charging unfair prices for Epanutin, a generic version of

Dilantin. As a part of its investigation, the Competition and Markets Authority produced a 500+

page memorandum decision. In addition to detailing the unlawful 2,600% price hike that Pfizer

and Flynn implemented for Epanutin, the decision commented on the efficacy of

Dilantin/Epanutin as follows:

        3.43 Phenytoin sodium has been superseded by a number of newer medicines

        with improved efficacy, fewer side effects and/or better safety profiles. This has

        meant that older drugs like phenytoin sodium are not the first - or second - choice

        treatment for epilepsy. As a result, in any given period, very few patients are

        newly prescribed phenytoin sodium capsules.

        52.     The bottom line is that Defendants' drug lacks efficacy and, particularly given its

many serious side effects, should be restricted or taken off of the market.                 Indeed, even

Defendants' own neurology experts concede that Dilantin should not be recommended as a first

line therapy for many seizure disorders due to the availability of safer and more effective

alternatives.

4
  NICE Clinical Guideline, "Epilepsies: diagnosis and management," (2004); and Brostoff, et al. "Phenytoin
toxicity: an easily missed cause of cerebellar syndrome," J Clin Phann and Therap. (2008); 33:211-214; NICE
Clinical Guideline, "Epilepsies: diagnosis and management," (2012).




                                                                                                   PAGE19
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 20 of 59




I.     Defendants' Deceptive Marketing Strategies

       53.     Defendants have aggressively marketed Dilantin for decades and made billions of

dollars as a result.   To reap these profits, Defendants have distributed thousands of books,

bulletins, and brochures across the U.S. that falsely promoted Dilantin as safe and effective in the

treatment of all types of seizures. Defendants did not disclose any safety information regarding

the risks of cerebellar atrophy in any of these publications.

       54.      For 80 years, Defendants' Dilantin advertisements have targeted the poor,

intellectually challenged, children, and adults by promoting Dilantin as a life-changing super

drug that could improve the quality of their lives by controlling seizures. At the same time,

however, Defendants knew that these subpopulations were at increased risks of cerebellar

atrophy, yet failed to warn them of those heightened risks, choosing instead to represent that

Dilantin was safe to use when they knew that it was not.

       55.     In 1982, Parke Davis targeted a national marketing campaign at the elderly,

introducing a Parke Davis program called Elder-Care to encourage older patients to ask health

care practitioners for help in managing their medications. Components of the program, which

was distributed to pharmacists in every state in the U.S., included the Elder-Care symbol and

patient information booklets entitled "As We Grow Older."

       56.     Another brochure developed by Parke Davis in 1983 was entitled "How to Select

Your Pharmacy and Pharmacies," which collected prescribing and use information from elderly

patients. Nowhere in these publications did Parke Davis disclose to elderly patients the risk of

cerebellar atrophy from Dilantin.

       57.     In 1992, Parke Davis published its Manual on Epilepsy, a marketing manual

disguised as a paperback book on public health educational information. The book falsely




                                                                                            PAGE20
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 21 of 59




promoted Parke Davis and the safety profile of Dilantin without disclosing its risk of cerebellar

atrophy.

       58.     Parke Davis and Warner Lambert implemented broad strategies for the marketing

of Dilantin from the 1960's through 2005.           In 1995, Parke Davis developed its company

Epilepsy Business Plan as shown below:




                                                 1995

                                             EPILEPSY
                                         BUSINESS PLAN

                                       Dilantin .... First Choice First Line
                                     Neurontin .... First Choice Second Line




       59.    Parke Davis used resources from marketing Dilantin from the previous decades to

aid in the development and marketing of Neurontin alongside Dilantin.          The publicly available

Parke Davis business plan from 1995 noted Defendants' intent to identify and target physicians

in the U.S. who prescribed the most Dilantin.




                                                                                              PAGE21
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 22 of 59




                                        PARKE-DAVIS NORTH AMERICA
                                           1995 OPERATING PLAN
                                 HOW P·D WILL CHANGE USAGE PATTERN

                      STEP 1: NEW ONSET
                      SEIZURE PATIENT           l                              l
                                            I
                                            DILANTIN   I               I
                                                                       TEGRETOL    I
                      STEP 2: PATIENT HAS                   SWITCH
                      SIDE EFFECTS
                      ANO/OR NOT
                      CONTROLLED

                                                              ADD
                      STEP 3: PATIENT NOT                  NEURONTIN
                ~     CONTROLLED
                ~
               ;,.,
                                                                           MOVE NEURONTIN TO STEP 3
               "~

                                                                           DISPLACING DEPAKOTE AS
               "                                              ADD          ADD-ON CHOICE



                 -
                      STEP 4: PATIENT NOT
                      CONTROLLED
                                                           DEPOKOTE

                                                                                          -
       60.    One of Parke Davis/Warner Lambert's core strategies was to "Capitalize on

Patients" and "strengthen[] Messages to MDs."




                                                                                                      PAGE22
         Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 23 of 59




         61.      To "capitalize on patients," Defendants used the Epilepsy Care System, whereby

Parke Davis staffed paid patient advocates with the Epilepsy Foundation of America (EF A). The

EF A was supposed to be an independent non-profit organization dedicated to assist individuals

with epilepsy with drug selection and healthcare decisions.                                  Far from being independent,

Defendants' paid staffers would direct patients to receive free Dilantin over epilepsy drugs made

by other drug companies. In addition to marketing their product to unsuspecting consumers,

during this process Parke Davis did not disclose the risks of cerebellar atrophy to physician or

patients. 5

         62.      Also, in 1995, a similar system was developed by Parke Davis as shown below:




                                                PARKE-DAVIS NORTH AMERICA
                                                   1995 OPERATING PLAN
                                                          CORE STRATEGY



                                                                           STRENGTHENING
                                          CAPITALIZE ON                       MESSAGE
                                            PATIENTS                           TOMD'a




                                     • EPILEPSY CARE SYSTEM          • 'TITRATE TO EFFECT' PHASE IV STUDY
                                         • 1-llOONUMBER
                                         • PAR1NER WITH THE EFA      • MEDICAL EDUCATION
                             <
                                         • CAPTURE PATIENT NAMES
                             ...
                             0
                                     • COMMUNITY OUTREACH
                                                                     • NEW CAMPAIGN FOR SALES FORCE

                             "'
                             "'      • DIRECT TO PATIENT PROMOTION
                             '°

                                 -
        63.      Defendants have, for many decades, communicated to patients directly using the

EF A and through sponsored physicians in order to fraudulently promote Dilantin as a safe and

effective medicine that would change their lives. In doing so, Defendants consciously concealed
5
  The EFA was not the only nonprofit foundation Parke Davis cooperated with in an effort to increase Dilantin sales.
The Dreyfus Health Foundation fi'k/a the Dreyfus Medical Foundation was another such organization. Through the
Drefus Medical Foundation, Parke Davis explored multiple off-label uses for Dilantin.




                                                                                                                 PAGE 23
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 24 of 59




the risks of cerebellar atrophy caused by Dilantin. The schematic below outlines the mechanics

of the Parke Davis business plan for its Epilepsy Care System:


                                                                                  ............
                                    PARKE-DAVIS NORTH AMERICA
                                       1995 OPERATING PLAN
                                     EPILEPSY CARE SYSTEM

                                              HOW TO LIVE
                                            WITH EPILEPSY KIT
                      EPILEPSY NURSE                              REIMBURSEMENT
                     RESOURCE CENTER                               INFORMATION




                                                  1-81111
             DILANTIN I NEURONTIN            EPILEPSY CARE
             INFORMATION SOURCE               COUNSELOR
                - GATHER PATIENT
                  NAMES                                          WHATTOTELL
                                                                 YOUR DOCTOR


                                          EFA
                                           • LEGAL INFORMATION
                                           .JOB SEARCH
                                           .ADA
                                           • MEDICATION ISSUES



          -                                . LOCAL CHAPTERS


                                                    !''''




       64.        As indicated in the Parke Davis business plan, the EF A played a large role in

persuading patients to choose Dilantin to treat their seizure disorders. Parke Davis also used the

EF A to collect information about the use of Dilantin products by these individuals which, in turn,

would help Defendants increase sales of the drug.

       65.        Parke Davis developed tactical planning strategies to implement various

marketing instruments promoting Dilantin. For example, and without ever mentioning the risk

of cerebellar atrophy, Parke Davis promoted Dilantin using reprints of articles that reported

favorable use of Dilantin; medical anatomical references; neurology residents training kits;




                                                                                                 PAGE24
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 25 of 59




Merritt-Putnam pads; patient information sheets; and flash cards attacking competitor drugs,

including Tegretol. Parke Davis also developed several series of videos to use with patients,

including "Under Complex Partial Seizures," or "The Rest of the Family", or "Planning for

Today," or ''JS' Aid for Seizures," and used videos that targeted children with seizures that

promoted Dilantin, including "School Planning for Children," or "Seizure, Epilepsy and Your

Child." None of these promotional materials warned of the risk of cerebellar atrophy.

       66.     Parke Davis paid for and established a national system called the Epilepsy

Awareness and Support Exchange or EASE. The program focused on key customers that

purchased Dilantin in large quantities, such as HMOs and hospitals. Parke Davis executed the

EASE program between 1995-2005 as described below.

       67.     When a physician called the national EF A hotline, they would be provided with

the Parke Davis treatment guidelines and a Living with Epilepsy Kit for their patients. The

Epilepsy Foundation would also provide the physicians and patients with information directing

them to the RESCON patient assistance program, which was Parke Davis's third-party vendor

that would partner with Parke Davis to provide Dilantin at a lower cost. The physician would

also be provided treatment guidelines that recommended using Dilantin as the first line agent.

       68.     When a patient called the EF A hotline, they would be screened for information

that Parke Davis desired to collect in order to better-market Dilantin and their other AEDs. The

patient would receive direct Parke Davis mailings and kits, which were educational materials

disguised to market Dilantin. None of these marketing materials contained information regarding

the risks of cerebellar atrophy. Below is a diagram of the Parke Davis EASE program:




                                                                                           PAGE25
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 26 of 59




        _EP_ILE_PSY_AW_~R_EN~ESS....;;;.;;.;.and.;;;...;;..;SU;;;.;;...;;...PP~ORT;;....;;::.EX::.::.:.:.:CHA~NG:.::._E_   N
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               PARKE-DAVIS
                  SERVICES
             1) Medic«! Affairs
             Z) Educational
                Materials
             3) Drug Safety
                Surveillance


                                                                            1• •'·'" 1A:l3S/RN'   ' '
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       69.       Parke Davis Epilepsy Guidelines were also created to ensure priority use or

prescribing of Dilantin as evidenced below:




                                                                                                                                  PAGE26
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 27 of 59




                            PHYSICIAN EPILEPSY
                          TREATMENT GUIDELINES
                          "' Hleh!ights:
                              "' Define current treatment guidelines
                              "' Insure priority use Dilantin/Neurontin
                              ., Customize for key institution in each CBU

                           ... Tactics:
                                ... Multidisiplinary Advisory Board
                                      ... Epileptologist/Neurologists
                                      ., Manage Care
                                      ... Primary Care
                                ., CME
                                      ., Supplements
                                      1> SlideKit
                                 "' Implementation
                                     ., CBUs
                                     ., NAMs
                                     ... National Speakers Bureau
                                     ... Audioconferences



                 -
       70.     Parke Davis identified several groups of physicians for targeted marketing. One

such group was physicians who frequently prescribed Dilantin, categorized by the dollar value of

Dilantin prescriptions they had the potential to generate. Another key group was physicians who

had the potential to influence Neurontin or Dilantin use among their colleagues. This included

local champions of the drug, who were recruited and trained to serve as speakers in "peer-to-peer

selling" programs, which were noted to be "one of the most effective ways to communicate

[Parke Davis] message" about Dilantin first, then Neurontin. Parke Davis also targeted residents

who could be used "to influence physicians from the bottom up" and "to solidify Parke Davis'

role in the resident's mind as he/she evolves into a practicing physician."

       71.     Educational     activities       were       also         used   to   implement   strategic   goals.

Teleconferences linking paid physician moderators with small groups of physicians was another

method used to reach prescribers. Although these teleconferences were titled as educational



                                                                                                            PAGE27
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 28 of 59




events, Parke Davis internal memos noted that "the key goal of the teleconferences was to

increase Dilantin and Neurontin new prescriptions by convincing non-prescribers to begin

prescribing and current prescribers to increase their new prescription behavior."

       72.     Speakers bureaus and related programs were other physician-to-physician

activities developed by Defendants to promote Dilantin and Neurontin. Sales employees were

encouraged to "expand the speaker base-identify and train strong Dilantin and Neurontin

advocates and users to speak locally for Dilantin Neurontin".

       73.     Parke Davis also organized Merritt-Putnam lecture series to improve "public

relations within the neurology community, etc., as well as [to impact] the volume of Dilantin and

Neurontin new prescriptions." The speakers bureau for this lecture series included chairs of

neurology departments and directors of clinical programs at major teaching hospitals. Members

of the speakers bureau were invited to special meetings where, in addition to lectures on the

clinical use of Dilantin, they were updated on promotional strategies for the drug. Parke Davis

also created a National Speaker's Bureau to falsely promote the safety and efficacy ofDilantin as

evidenced in their business plan.

       74.     Parke Davis sought to provide unrestricted educational grants to locally organized

symposia at which it expected Dilantin or gabapentin to be favorably discussed. One memo

recommended the following: "Assist in the organization of a [major university hospital's] pain

symposium .... We will probably write them an unrestricted educational grant to help fund the

project. In return, they will discuss the role of Neurontin in neuropathic pain and Dilantin use,

among other topics. They do have a very favorable outlook toward Dilantin and Neurontin."

       75.     Pfizer acquired Warner-Lambert and its Parke Davis division in 2000 for $91

billion. As a part of the acquisition, Pfizer acquired Warner-Lambert's products, including its




                                                                                          PAGE 28
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 29 of 59




neurological products such as Dilantin, Cerebyx and Neurontin.         After the purchase, Pfizer

continued the Parke Davis business plans described above.

        76.    In May 2004, as a direct result of the above-described conduct, Warner-Lambert

pled guilty to off label marketing and promotion and agreed to pay over $430 million to resolve

criminal charges and civil liabilities in connection with its illegal and fraudulent promotion of

unapproved uses of Neurontin - the AED marketed side-by-side with Dilantin. The settlement

agreement included a Corporate Integrity Agreement, requiring Pfizer to train and supervise its

marketing and sales staff to protect against future off-label marketing conduct.

J.     Defendants Performed and Ignored Their Own Safety Signal Analysis for Dilantin-
       lnduced Cerebellar Atrophy

       77.      In 2009, one of Pfizer's chief safety signal experts, Manfred Hauben, M.D.,

performed a safety signal analysis of the risk of cerebellar atrophy from Dilantin. 6 That same

year, Dr. Hauben and another Pfizer safety signal expert, Dr. Andrew Bates, published an article

describing methods by which drug companies are able to use their internal safety databases to

explore and detect safety signals, including signals for cerebellar atrophy. Highlights from that

article are below:




6
 Hauben and Bates, Decision Support Methods For the Protection of Adverse Events in Post-
Marketing Data, Drug Discovery Today (2009)



                                                                                         PAGE29
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 30 of 59




              Methodologies to interrogate the data
              Rt•ported ADRs may stand out and he selertt'd ai. possible i.igmtls
              for various reasons, both dlnical and quantitative. The clin!eal
              criteria and lwurl'>tks used in pharmacovigilance have been dis-
              c:w>sed in detail elsewhere
                 We focus on ADlh that lirs1 come to attention onl)' after
              a<Tumulatlun of a nm:ial milss of <:ases. IJetermining this crudal
              mass is lhe key conundrum in signal detection aml where quanti-
              tative apprnm:hcs based on computer-based stutistiral rnlc:ulallons
              n111 help.
                Conteu1po.rary                                                      pri·
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                                               foUngphenytoin wifh other events,
             'the 11im1bt'r t1f reports of ~U                  t'C'rebelli\r ab'oph.y
              and the numb"'!' of             US-ting  other drug and any othi:r
              event. The vast majority of reports will fall into the last category
              (cell D). Giwn tht' spaa~ity of SUS dntabascs and a focus on rare
              adver-se events In pharrnamvigllam:e, cell A will have the fewest
              reports. A similar t<ible can he constmc·tf'd for evt'ry possible drug·
              event combination (drug-event combinations with no reports \\•Ill
              have the cell count A 0).




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             Totol




       78.     Dr. Hauben's analysis prompted Pfizer to change its Dilantin labels to warn about

cerebellar atrophy in foreign countries, but not in the U.S. By at least 2009, Defendants were (i)

aware of cerebellar atrophy as an adverse effect of their drug, (ii) performed a safety signal




                                                                                           PAGE 30
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 31 of 59




analysis, and (iii) knowingly chose not to change their U.S. label to warn of the risk after the

safety signal was detected.

K.     Known and Uncured Manufacturing Defects

        79.    Since 1990, there have been a total of 64 recalls of Warner Lambert products for

manufacturing and other defects. Several of these recalls included Dilantin products. In 1993,

the company agreed to a consent decree that halted the manufacture of several drugs (including

certain Dilantin product) while its manufacturing processes were changed to comply with law.

In 1995, Warner-Lambert pled guilty to criminal charges and agreed to pay a $10 million fine for

hiding data from the Food and Drug Administration regarding faulty manufacturing processes

used for several of its drugs, including Dilantin. The violations were so significant that Wamer-

Lambert's former vice president for quality control was indicted on criminal charges alleging

that he was involved in an attempt to hide failures in quality control.

       80.     After Pfizer acquired Warner-Lambert and Parke Davis for $91 billion in 2000,

Pfizer became bound to the 1993 Consent Decree. Pfizer consented to a Remedial Action Plan

that required Defendants to comply with Good Manufacturing Processes required by FDA

regulations for the manufacturing of Dilantin products.

       81.      On December 15, 2005 - twelve years after Defendants represented they would

resolve their quality control issues - Pfizer submitted a Supplemental New Drug Application 84-

349/S-045 to the FDA seeking approval for a different manufacturing process to manufacture

Dilantin Kapseals (extended release sodium phenytoin 100 mg) into a form of Dilantin called

Dilantin Capsules. Through this submission, Pfizer reformulated Dilantin 30 mg and 100 mg

Kapseals without disclosing the reformulation to U.S. consumers and healthcare providers.




                                                                                         PAGE31
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 32 of 59




Pfizer, however, did disclose the reformulation to consumers and prescribing physicians in other

countries, including in Canada, through Dear Healthcare Provider letters.

        82.    In doing so, Pfizer unilaterally altered the manufacturing process for Dilantin

Kap seals 100 mg into a different form of the drug (Dilantin Capsules) that utilized phenytoin

sodium. Pfizer subsequently filed an Amendment to SNDA 84-349/S-045 notifying the FDA

that the new manufacturing changes and enhancements were developed primarily to address

manufacturing concerns that were the subject of the 1993 consent decree between the FDA and

Warner-Lambert.

       83.     The FDA rejected the submission and the bioequivalence studies due to the poor

quality of both the data and submissions. Ultimately the submission was approved by the FDA

Office of Generic Drugs, Division of Bioequivalence on August 7, 2006.

       84.     On October 15, 2007, Pfizer entered into an Amended Consent Decree regarding

the manufacturing deficiencies for Dilantin 30 mg and Dilantin 100 mg capsules.            In this

Amended Consent Decree, Pfizer admitted that (even after 14 years) it had not completed the

certifications and remedial action plans that were the subject the 1993 consent decree.

L.     Defendants Were Cited by the FDA for Failing to Review, Analyze, and Report
       Serious Adverse Drug Events

       85.     Section 505(k)(l) of the Federal Food, Drug, and Cosmetic Act [21 U.S.C. §

355(k)(l); see also 21 CFR 314.80 and 314.81] require Defendants to establish and maintain

records and to report data relating to clinical experience, along with other data or information,

for drugs for which an approved application is in effect. Failure to comply with Section 505(k) is

a prohibited act under Section 30l{e) of the Act [21 U.S.C. § 331(e)].

       86.     Following a 2009 inspection, the FDA issued a warning letter to Pfizer noting

serious violations relating to Dilantin and other products, including the following:




                                                                                          PAGE32
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 33 of 59




        •      Serious and unexpected ADE reports are not promptly investigated as required by

               21CFR314.80(c)(l)(ii).

        •      Failure to submit 15-day Alert reports for serious adverse drug experiences as a

               non-applicant to the applicant within 5 calendar days of receipt as required by 21

               CFR 314.80(c)(l)(iii).

        •      Failure to promptly review all adverse drug experience information obtained or

               otherwise received by the applicant from any source as required by 21 CFR

               314.80(b).

        87.    Defendants failed to promptly investigate, review and report to the FDA ADE

reports of cerebellar atrophy from Dilantin exposure.

M.     Defendants Have Known that Dilantin Causes Cerebellar Atrophy and Failed to
       Warn of the Risk

       88.     As noted above, Defendants are required to conduct adequate post approval safety

surveillance for all of their drugs, including Dilantin, by collecting and evaluating aggregated

'safety data and scientific literature relating to the adverse effects of their drugs. Defendants are

required by law to analyze and determine whether safety signals exist; to report those safety

findings to the FDA; to continuously revise or update their product labels; and to provide an

identification of the current risks associated with Dilantin in order to allow for the safe and

effective use of the product, including warning for the risk of cerebellar atrophy and its related

conditions.

       89.     Scientific studies and peer reviewed literature positively identify a direct causal

link and/or association between Dilantin and cerebellar atrophy which Defendants knew or, at a

minimum, should have known about, and should have but did not disclose to the FDA and U.S.

healthcare providers.




                                                                                             PAGE 33
         Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 34 of 59




         90.   Further, despite hundreds of reports of cerebellar atrophy, gait disturbances,

ataxia and neurological adverse events associated with Dilantin/phenytoin products, no safety

information has been included in the labeling to reflect the increased risks to subpopulations, the

unique risk factors, the duration of therapy, or pharmacogenetics on the safety of the post-

marketing experience with these catastrophic and disabling injuries.

         91.   Indeed, despite the significant volume of safety information establishing the

known risks of an adverse reaction as severe and permanent as cerebellar atrophy, Defendants'

Dilantin label remained entirely silent about these risks for decades. To this day, Defendants still

fail to provide sufficient information regarding the risks of cerebellar atrophy. Nor have they

ever provided appropriate safety instructions to patients to reduce the risk of occurrence of these

potentially disabling diseases.

         92.   Defendants have had ample opportunity to change their label to provide adequate

warnings regarding cerebellar atrophy and sufficient instructions on the safe use of Dilantin.

Indeed, using SNDAs and CBEs, Defendants have changed the Dilantin label numerous times to

warn of other adverse reactions.     During this same time frame, Defendants provided better

warnings and more information on related conditions in foreign countries, as evidenced by the

labeling for Dilantin and Epanutin products in other countries, including Australia, Canada and

Japan. Pfizer also distributes Patient Information Leaflets directly to Dilantin consumers in the

E.U. that refer to symptoms of cerebellar atrophy.       Pfizer, however, does not provide this

information to U.S. patients.

         93.   Medication Guides presented another opportunity for Defendants to warn of these

risks.   Medication Guides are patient labeling (21 CFR part 208) which accompany drugs

deemed by the FDA to have serious and significant risks. Medication Guides address issues that




                                                                                            PAGE 34
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 35 of 59




are specific to particular drugs or drug classes. They contain FDA-approved information that

can help patients avoid serious adverse reactions. Medication Guides are developed by

manufacturers, reviewed by the FDA, and are required to be distributed by pharmacies with each

prescription.    Defendants should have developed a Medication Guide for Dilantin,

independently, to include specific warnings regarding cerebellar atrophy, ataxia and the

associated neurocognitive impairments.      Dilantin's Medication Guide does not warn about

cerebellar atrophy, ataxia and the associated neurocognitive impairments. Nor does it warn

about the risks associated with the duration of therapy (or chronic exposure) or of the

toxicological consequences to the brain and central nervous system from cerebellar atrophy.

       94.      Defendants should have (but did not) undertake safety surveillance analyses to

include a comprehensive analysis of the available scientific literature, epidemiological studies or

employ data mining techniques using various modalities to assess the risks of prolonged therapy

of Dilantin and cerebellar atrophy that has been associated with their Dilantin products.

       95.      While Dilantin is the leading drug-induced cause of cerebellar atrophy, other drug

companies who market epilepsy drugs warn about the risk of cerebellar atrophy. For example,

AbbVie's Depakote (another anti-epileptic drug) label warns about the potential for cerebellar

atrophy in the warnings section of its drug's label. Notably, AbbVie's warning is based on case

reports and, although Depakote rarely causes cerebellar atrophy and almost all of the Depakote

cases improve on discontinuation of the drug, AbbVie has warned of this risk for years.

       96.      Defendants had and have a duty to collect, review, and disclose all relevant

scientific and safety information as well as to provide adequate directions for the safe and

effective use ofDilantin pursuant to 21 C.F.R. 314.80 and 314.81. Defendants also had and have

a duty to provide adequate warnings and directions for use pursuant to 21 C.F.R 201.5, 201.56,




                                                                                            PAGE 35
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 36 of 59




201.57, 208, and could have revised their labeling over the last decades pursuant to 314.70,

including adding new warnings and improved direction for use to Plaintiffs, his prescribing

physicians, and U.S. healthcare professionals with regard to the risk of permanent, irreversible

cerebellar atrophy and related neurological injuries associated with Dilantin, including

irreversible neurotoxicity, dysarthria (speech impairment), cognitive injuries and ataxia.

       97.      As a direct result of the wrongful acts and omissions listed above and

Defendants' deficient and inadequate warnings, Plaintiffs' prescribing physicians were deprived

of the ability to fully assess the risks and make an informed decision about prescribing Dilantin

to Plaintiffs. Had Plaintiffs or their prescribing physicians been made aware of the known risks

and dangers associated with Dilantin or the availability of safer alternatives, or had Defendants

disclosed such information to Plaintiffs or their prescribing physicians, Plaintiffs would not have

taken Dilantin and would not have suffered the permanent and life-altering injuries at issue.

                                   V.      THE PLAINTIFFS

       98.     A.D., now an 11-year-old boy, was born on August 18, 2006.              He lives in

Havertown, Pennsylvania with his parents and his sister. As a result of his Dilantin-induced

cerebellar atrophy, he is permanently disabled and is completely dependent on his family for the

most basic of care.

       99.     Prior to 2011, A.D. was a normal, functioning young child. Before he received

Dilantin (phenytoin) for seizures, the CT scans of his brain did not reflect any evidence of

cerebellar involvement or atrophy. A.D. began taking branded Dilantin on March 2, 2011 and

developed severe cerebellar atrophy as a direct result of his ingestion of branded Dilantin

chewable tablets while in Children's Hospital of Philadelphia (CHOP).           In addition to his

cerebellar atrophy, A.D. experienced a drug reaction to the branded Dilantin called Drug Rash




                                                                                             PAGE36
        Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 37 of 59




with Eosinophilia and Systemic Symptoms (DRESS) and included positive hepatomegaly,

elevated LFTs, thyroid abnormalities and rash.

        100.    A.D. 's exposure to branded Dilantin caused his cerebellar atrophy and devastating

permanent injuries.       As discussed in the literature cited above, the short time to onset for

Dilantin-induced cerebellar atrophy and related neurological deficits can result in the permanent

effects of cerebellar atrophy within days or weeks of exposure to Dilantin and can worsen over

time. The scientific literature establishes the causal nexus between acute exposure to Dilantin

and irreversible cerebellar atrophy.

        101.    As a result of his cerebellar atrophy, A.D. has sustained significant and permanent

neurological injuries that have rendered him permanently disabled. Following his discharge

from CHOP in May of 2011, he suffered severe impairments to his gait, motor control, speech

and cognitive deficits, and was rendered wheelchair bound for the remainder of his life.

        102.    The burden of A.D.'s full time care has fallen to his parents. Mrs. Dennis grew

up in the Philadelphia suburbs. She has a Master of Arts in clinical psychology. For the last 20

years, Ms. Dennis has worked in behavioral health. In order to care her son, Mrs. Dennis is to

work very close to home and Andrew's school in case there is an emergency.

        103.    Mr. Dennis was in the United States Army for 15 years, the last six of those years

in the National Guard. While he completed his assignment and was discharged in January 2017,

he had to give up his full retirement pension in order to care for A.D. on a daily basis.

Unfortunately, A.D. will remain permanently disabled for the rest of his life.

                      Minor and Equitable Tolling of Statute of Limitations

        98.     Plaintiffs incorporate by reference all prior paragraphs of this Complaint as if

fully set forth herein.




                                                                                           PAGE 37
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 38 of 59




       99.     AD. was a minor at the time he ingested Dilantin, at the time he was injured and

1s a mmor today.      Accordingly, the running of the statute of limitations is tolled under

Pennsylvania law. Additionally, the running of any statute of limitations has been tolled for

Plaintiffs' claims by reason of Defendants' fraudulent concealment. Defendants, through their

affirmative misrepresentations and omissions, actively concealed from Plaintiffs and Plaintiffs'

prescribing physicians the true risks associated with Dilantin. As a result of Defendants' actions,

Plaintiffs and Plaintiffs' prescribing and treating physicians were unaware, and could not

reasonably known or have learned through reasonable diligence, that AD. had been exposed to

the risks alleged herein and that the neurological sequelae, including irreversible cerebellar

atrophy, cerebellar ataxia, cerebellar degeneration, dysarthria, and other cognitive injuries were

the direct and proximate result of Defendants' acts and omissions.

       100.    Defendants are estopped from relying on any statute of limitations because of

their fraudulent concealment of the true risks of cerebellar atrophy, cerebellar ataxia, cerebellar

degeneration, dysarthria, cognitive injuries and related sequelae associated with Dilantin. The

risks identified herein involve non-public information over which Defendants had and have

exclusive control. Defendants knew that this safety information was not available to Plaintiffs

and Plaintiffs' prescribing physicians. Because Defendants concealed the risks of cerebellar

atrophy, permanent cerebellar ataxia, cerebellar degeneration, dysarthria, cognitive injuries and

related sequelae associated with Dilantin products, Plaintiffs and their prescribing physicians

were not aware of the risks and were unable to positively conclude that Dilantin was the cause of

Plaintiffs' injuries and damages until recently, within the statute of limitations.         Instead,

Plaintiffs were advised for years that his injuries were caused by illnesses and diseases other than

Dilantin. Defendants' misrepresentations of safety and efficacy included the false representation




                                                                                            PAGE 38
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 39 of 59




that, if A.D. suffered acute episodes of Dilantin toxicity based on high serum levels of Dilantin,

his side effects would be reversible and entirely resolve if A.D. briefly stopped taking Dilantin

and resumed Dilantin therapy at a later date. Defendants are estopped from relying on any

statute of limitations because of their intentional concealment of these facts.

        101.    Plaintiffs had no knowledge that Defendants were engaged in the wrongdoing

alleged herein. Because of Defendants' fraudulent acts and concealment, Plaintiffs and their

prescribing physicians could not have reasonably discovered the wrongdoing at an earlier date.

Further, the economics of the fraud must be considered in context. Defendants had the ability to

and did spend enormous amounts of money in furtherance of their purpose of marketing,

promoting and/or distributing their blockbuster drug Dilantin, notwithstanding the known or

reasonably known risks. Plaintiffs and their prescribing physicians could not have afforded and

could not have reasonably conducted studies to determine the nature, extent and identity of the

health risks at issue in this Complaint and, instead, were required to and did rely on Defendants'

representations. Accordingly, Defendants are precluded by the discovery rule, estoppel and/or

the doctrine of fraudulent concealment from relying upon any statute of limitations.

                                   VI.     CAUSES OF ACTION

                                   FIRST CLAIM FOR RELIEF

                   STRICT PRODUCT LIABILITY - FAILURE TO WARN

        102.    Plaintiffs incorporate by reference each and every paragraph of this Complaint as

though set forth in full in this cause of action.

        103.    Defendants manufactured, marketed, distributed and supplied Dilantin. As such,

Defendants had a duty to warn the public including Plaintiffs and their prescribing physicians of

the health risks associated with using Dilantin.




                                                                                           PAGE 39
          Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 40 of 59




          104.   Dilantin was under the exclusive control of Defendants and was sold without

adequate warnings regarding the risk of cerebellar atrophy and related neurological sequelae,

including ataxia and persistent loss of locomotion, including in individuals with underlying

balance disturbances and cognitive dysfunction.

          105.   As a direct and proximate result of the defective condition of Dilantin and its

label, as manufactured and/or supplied by Defendants, Plaintiffs suffered injury, harm, and

economic loss as alleged herein.

          106.   Defendants knew of the defective nature of Dilantin but continued to design,

manufacture, market, and sell Dilantin in order to maximize sales and profits at the expense of

public health and safety. Defendants' knowing, conscious, and deliberate disregard of the

foreseeable harm caused by Dilantin violated their duty to provide accurate, adequate and

complete warnings.

          107.   Defendants failed to warn the public, Plaintiffs and Plaintiffs' prescribing

physicians of the dangerous propensities of Dilantin, which were known or should have been

known to Defendants, as they were scientifically readily available. Defendants failed to comply

with FDA regulations governing prescription labeling, including 21 C.F.R. 201.56, 201.57,

314.70, 314.80, 314.81 and 201.80. Further, Defendants had the ability to request and obtain a

patient Medication Guide that could have provided adequate warnings of the risks referenced

herein.

          108.   Defendants knew and intended that Dilantin would be prescribed by physicians

and would be used by persons. Defendants also knew that physicians and users such as Plaintiffs

would rely upon the representations made by Defendants in the Dilantin product labels and in




                                                                                         PAGE40
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 41 of 59




Defendants' promotional and sales materials, upon which the Plaintiffs' prescribing physicians

did so rely.

        109.    As a direct and proximate result of Defendants' sale of Dilantin without adequate

warnings regarding the risk of cerebellar atrophy and related sequelae, Plaintiffs suffered injury

and harm as alleged herein.

        110.    Defendants' conduct in the packaging, warning, marketing, advertising,

promotion, distribution and sale of Dilantin was committed with knowing, conscious, and

deliberate disregard for the rights and safety of consumers such as Plaintiffs, thereby entitling

Plaintiffs to punitive damages in an amount to be determined at trial that is appropriate to punish

Defendants and deter them from similar conduct in the future.

                                 SECOND CLAIM FOR RELIEF

                  STRICT PRODUCT LIABILITY - DEFECTIVE DESIGN

        111.    Plaintiffs incorporate by reference each and every paragraph of this Complaint as

though set forth in full in this cause of action.

        112.    Defendants were the manufacturers, labelers, sellers, distributors, marketers,

and/or suppliers of Dilantin, which was defective and unreasonably dangerous to consumers.

        113.    Defendants' product was labeled, sold, distributed, supplied, manufactured,

marketed, and/or promoted by Defendants, and was expected to reach and did reach consumers

without substantial change in the condition in which it was manufactured and sold by

Defendants.

        114.    The Dilantin manufactured, labeled, supplied, and/or sold by Defendants was

defective in design or formulation in that when it left the hands of the manufacturers and/or

sellers it was unreasonably dangerous and its foreseeable risks exceeded the benefits associated




                                                                                           PAGE41
          Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 42 of 59




with its design or formulation. The foreseeable risks of Dilantin exceeded the benefits associated

with the designs or formulations of the product.

           115.    Upon information and belief, Defendants knew of the defective nature of Dilantin

but continued to design, manufacture, market, and sell it so as to maximize sales and profits at

the expense of public health and safety.

           116.    There were safer alternative methods and designs for the manufacture of Dilantin

products. For example, Defendants failed to design Dilantin products to meet their own formula

and manufacturing specifications for good manufacturing processes; Defendants failed to certify

and remediate the deficient manufacture and production of approved Dilantin products; and

Defendants could have substituted a safer alternative design without having to submit another

new drug application. In fact, Defendants have changed the chemical composition of Dilantin in

the past without first seeking FDA approval. 7 For example, Defendants developed, tested and

obtained approval in 1996 for another anti-epileptic drug (Cerebyx) which is chemically similar

to Dilantin and does not carry the same risk of cerebellar atrophy. Further, Defendants have

designed and manufactured phenytoin with an acid base used in certain forms of Dilantin

products. Studies have shown that using phenytoin acid carries a lower risk of cerebellar injuries

than its phenytoin sodium counterparts. 8 At all times material, Defendants have known of this

available safer alternative design, which was economically feasible for Defendants to utilize.

           117.    At all times material, Dilantin was designed, tested, inspected, manufactured,

assembled, developed, labeled, licensed, marketed, advertised, promoted, packaged, supplied

and/or distributed by Defendants in a defective and unreasonably dangerous condition in ways

which include, but are not limited to, one or more of the following:


7
    See Manufacturing Defect claim and the Pfizer/Warner-Lambert Amended Consent Decree referenced below.
8
    Dilantin Kapseals are extended phenytoin sodium.




                                                                                                      PAGE42
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 43 of 59




        a.      When placed in the stream of commerce, the drug contained unreasonably

dangerous design defects and was not reasonably safe and fit for its intended or reasonably

foreseeable purpose or as intended to be used, thereby subjecting users and/or consumers of the

drug, including Plaintiffs, to risks which exceeded the benefits of the drug;

       b.      The drug was insufficiently tested;

        c.     The drug caused harmful side effects that outweighed any potential utility; and

        d.     The drug was not accompanied by adequate labeling, instructions for use and/or

earnings to fully apprise the medical, pharmaceutical and/or scientific communities, and users

and/or consumers of the drug, including Plaintiffs, of the potential risks and serious side effects

associated with its use.

        118.   In light of the potential and actual risk of harm associated with the drug's use, a

reasonable person who had actual knowledge of this potential and actual risk of harm would

have concluded that Dilantin should not have been marketed in that condition.

        119.   At all times material, Dilantin was expected to reach, and did reach, users and/or

consumers across the United States, including Plaintiffs, without substantial change in the

defective and unreasonably dangerous condition in which it was sold.

        120.   Plaintiffs used Dilantin for its intended or reasonably foreseeable purpose. As a

direct, proximate and producing result of the defective and unreasonably dangerous condition of

Dilantin, Plaintiffs sustained harm for which Plaintiffs are entitled to damages.

        121.   Defendants' aforementioned conduct was committed with knowing, conscious,

and deliberate disregard for the rights and safety of consumers such as Plaintiffs and entitles

Plaintiffs to punitive damages in an amount to be determined at trial that are appropriate to

punish Defendants and deter them from similar conduct in the future.




                                                                                           PAGE43
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 44 of 59




                                   THIRD CLAIM FOR RELIEF

               FRAUD, FRAUDULENT CONCEALMENT AND INTENTIONAL
                             MISREPRESENTATION

        122.    Plaintiffs incorporate by reference each and every paragraph of this Complaint as

though set forth in full in this cause of action.

        123.    At all material times, Defendants were engaged in the business of manufacturing,

labeling, testing, marketing, distributing, promoting and selling Dilantin.

        124.    Defendants made misrepresentations of material facts to and omitted and/or

concealed material facts from Plaintiffs and Plaintiffs' prescribing physicians in the advertising,

marketing, distribution and sale of Dilantin regarding its safety and use.

        125.    Defendants deliberately and intentionally misrepresented to and omitted and/or

concealed material facts from consumers, including Plaintiffs and their prescribing physicians,

that Dilantin was safe when used as intended.            Such misrepresentations, omissions, and

concealments of facts include, but are not limited to:

        •       Failing to disclose, and/or intentionally concealing, the results of tests reflecting

                the risks of cerebellar atrophy and other neurological injuries associated with the

                use of Dilantin;

        •       Failing to include adequate warmngs about the potential and actual risks of

                cerebellar atrophy, permanent cerebellar ataxia, speech impairments, cognitive

                deficits and the nature, scope, severity, and duration of these serious adverse

                effects;

       •        Concealing the known incidents of cerebellar atrophy and cognitive deficits;

       •        Engaging in fraudulent and misleading promotional and marketing activities,

                including placing advertisements in medical journals, technical booths at the




                                                                                             PAGE44
Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 45 of 59




      ILAE and AAN conferences, CME or satellite symposiums, and scientific

      meetings;

•     Fraudulently promoting and marketing Dilantin alongside Neurontin;

•     From 1993 through the present, Defendants engaged in a systematic failure to

      ensure that Dilantin products were made in compliance with Current Good

      Manufacturing Practices (CGMP) and ensure that Dilantin was manufactured

      pursuant to proper and adequate specifications and formulations;

•     From the 1960's through the present, Defendants partnered with nonprofit

      organizations, including the American Epilepsy Society and American

      Foundation for Epilepsy, for the improper purpose of increasing sales of Dilantin

      without disclosing to consumers the extent of Defendants' involvement with the

      nonprofit organizations or the risks associated with the drug;

•     Defendants knowingly concealed the results of Dr. Manfred Hauben and Dr.

      Andrew Bates' safety signal analysis from Plaintiff and his prescribing

      physicians;

•     Defendants intentionally misrepresented to, and omitted and/or concealed

      material facts from, at-risk populations, including Plaintiffs and his respective

      prescribing physicians, with regard to the increased risk of cerebellar atrophy;

•     Defendants have not disclosed to prescribing physicians that they never conducted

      adequate randomized controlled trials or safety studies to prove chronic Dilantin

      therapy was safe;

•    Defendants chose to warn consumers and prescribing physicians in foreign

     countries regarding the risk of cerebellar atrophy from Dilantin, yet chose not to




                                                                                   PAGE45
    Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 46 of 59




          warn U.S. patients and healthcare providers, including Plaintiffs' prescribing

          physicians;

    •     Defendants failed to disclose to Plaintiffs and their prescribing physicians that

          Dilantin lacks efficacy and its risks outweigh the benefits of the drug;

    •     Defendants failed to disclose to Plaintiffs and their prescribing physicians that

          safer alternative anti-epileptic drugs exist that do not carry a risk of cerebellar

          atrophy;

    •     Defendants failed to disclose that patients can be screened and genetically

          phenotyped prior to being prescribed to Dilantin in order to screen for CYP2C9*2

          or *3 variants and avoid increased risks of cerebellar atrophy from impaired
0

          pharmacokinetics;

    •     That irreversible cerebellar degeneration and atrophy can begin as soon as

          Dilantin is taken, within days or weeks of therapy, and over short or long periods

          of time;

    •     Recommended doses can lead to toxic levels of serum concentrations that

          contribute to cerebellar atrophy, ataxia, loss of locomotion, and other neurological

         impairments;

    •    One time exposure to Dilantin can cause permanent and irreversible cerebellar

         damage;

    •    Case-control studies showed a greater risk, incidence and causative findings of

         moderate to severe cerebellar atrophy associated with long-term Dilantin therapy;




                                                                                      .PAGE 46
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 47 of 59




        •       That the use of Therapeutic Monitoring (TDP) usmg free phenytoin and

               therapeutic levels of Dilantin should be used to closely monitor patients weekly to

               bi-monthly along with frequent neurological examinations;

        •      That several scientific groups have recommended that Dilantin not be used as a 1st

               or     2nd   line agent and recommended restricting its use in at-risk populations

               (pregnant women, newborns, children, mentally disabled, elderly) due to risks of

               cerebellar atrophy and adverse neurological sequelae and due to lack of efficacy.

        126.   Defendants intentionally concealed facts known to them, as alleged herein, in

order to ensure increased sales of Dilantin, including concealing facts from Plaintiffs and their

prescribing physicians.

        127.   Defendants had a duty to disclose the foregoing risks and failed to do so despite

possession of material information concerning those risks.        Defendants' representations that

Dilantin was safe for its intended purpose were false as Dilantin was, in fact, dangerous to

Plaintiffs' health.     Moreover, Defendants knew that their statements were false, knew of

numerous incidents of cerebellar atrophy, deaths, permanent cerebellar ataxia, speech

impairments and cognitive deficits, and knew that their omissions rendered their statements and

product label false or misleading.

        128.   Further, Defendants failed to exercise reasonable care in ascertaining the accuracy

of the safety information regarding the use of Dilantin and failed to disclose to prescribing

physicians and patients that Dilantin caused cerebellar atrophy, deaths, permanent ataxia, and

cognitive deficits, among other serious neurological adverse effects. Defendants also failed to

exercise reasonable care in communicating safety information concerning Dilantin to Plaintiffs'




                                                                                           PAGE47
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 48 of 59




prescribing physicians and Plaintiffs and/or concealed facts that were known to Defendants from

Plaintiffs' prescribing physicians and treating physicians.

        129.    Plaintiffs' prescribing and treating physicians were not aware of the falsity of the

foregoing representations, nor were Plaintiffs' prescribing physicians or treating physicians

aware that material facts concerning the safety of Dilantin had been concealed or omitted by

Defendants. The misrepresentations were made on the dates of the communications, labeling

and marketing records identified in the Complaint, and include Defendants' failure to disclose

the essential scientific information for the safe use of Dilantin.

        130.   In reliance upon Defendants' misrepresentations and the absence of disclosure of

the serious health risks identified above, on the dates that Plaintiffs' prescriptions for Dilantin

were written, Plaintiffs' prescribing physicians relied on Defendants' misrepresentations and

prescribed Dilantin to Plaintiffs. Further, for the purpose of assessing the risks and benefits of

prescribing Dilantin products to Plaintiffs for A.D. 's seizure disorder, Plaintiffs' prescribing

physicians relied on their respective education, training and experience; the Physician Desk

Reference and product label for branded Dilantin products; Defendant-sponsored medical and

pharmaceutical websites; continuing medical education conferences where Dilantin was

discussed; Defendants' sponsored medical literature on Dilantin; discussions with sales

representatives for Defendants at the time Defendants' sales representatives visited their offices

to sell Dilantin; Dear Healthcare Professional (DHCP) letters and written materials provided by

Defendants regarding Dilantin, among other documents and communications.

       131.    Plaintiffs' prescribing physicians relied on Defendants to fairly and accurately

disclose the risk and safety information regarding the risks of cerebellar atrophy and related

neurological sequelae.     The prescribing physicians were not aware of the falsity of the




                                                                                            PAGE48
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 49 of 59




misleading safety information above (including the information identified in Paragraph 125), on

which Plaintiffs' prescribing physicians relied at the time they prescribed Dilantin to Plaintiffs.

       132.    Plaintiffs' prescribing physicians have the option to prescribe a large volume of

anti-epileptic medications to their respective patients. It is impractical to place the burden on or

expect every physician to manage a medical practice, effectively treat their patients, and review

all of the available safety literature regarding every drug that may be applicable to their practice.

These obvious impracticalities are, in part, why federal regulations place the burden on drug

companies like Defendants to disclose all material safety information regarding the safe and

effective use of their drugs. It is Plaintiffs' prescribing physician's medical practice to rely on

safety information provided by drug companies like Defendants, including but not limited to

prescribing information disseminated in labeling, Medication Guides, DHCP letters, sales

literature, symposiums and medical conferences. Plaintiffs' prescribing physicians were exposed

to, reviewed and relied upon the safety information referenced above when they analyzed the

safest and most effective AED for Plaintiffs. Had Plaintiffs or their prescribing physicians

known of the true risks of severe, irreversible neurotoxicity, including death, cerebellar atrophy,

permanent ataxia, dysarthria, cognitive impairments and related neurological sequelae, Plaintiffs

would not have been prescribed Dilantin or taken the drug.          Instead, Plaintiffs' prescribing

physicians would have prescribed a different AED with no or far less risk of these neurotoxic

sequelae, including cerebellar atrophy and related neurological injuries.

       133.    The reliance by Plaintiffs and his prescribing physicians upon Defendants'

misrepresentations was justified because said misrepresentations and omissions were made by

individuals and entities that were in a position to know the true facts concerning Dilantin.

Plaintiffs and Plaintiffs' prescribing physicians were not in a position to know the true facts




                                                                                              PAGE49
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 50 of 59




because Defendants aggressively promoted the use of Dilantin and concealed the risks associated

with its use, thereby inducing Plaintiffs and their prescribing physicians to use and prescribe

Dilantin.

        134.    As a direct and proximate result of Defendants' misrepresentations and/or

concealment, Plaintiffs suffered conscious pain and suffering, and suffered injury and harm as

previously alleged herein.

        135.    Defendants' conduct in concealing material facts and making the foregoing

misrepresentations, as alleged herein, was committed with conscious or reckless disregard of the

rights and safety of consumers such as Plaintiffs, thereby entitling Plaintiffs to punitive damages

in an amount to be determined at trial that is appropriate to punish Defendants and deter them

from similar conduct in the future. Plaintiffs are not alleging any cause of action of fraud on the

FDA.

                                 FOURTH CLAIM FOR RELIEF

                              BREACH OF IMPLIED WARRANTY

        136.    Plaintiffs incorporate by reference each and every paragraph of this Complaint as

though set forth in full in this cause of action.

        137.    Defendants manufactured, marketed, sold, and distributed Dilantin.

        138.    At the time Defendants marketed, sold and distributed Dilantin for use by

Plaintiffs, Defendants knew of the purpose for which Dilantin was intended and impliedly

warranted Dilantin to be of merchantable quality, safe and fit for such use.

        139.    Plaintiffs' prescribing physicians reasonably relied on the skill, superior

knowledge, and judgment of Defendants as to whether Dilantin was of merchantable quality,

safe and fit for its intended use.




                                                                                           PAGE 50
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 51 of 59




        140.      Plaintiffs used Dilantin which was made available to Plaintiffs' prescribing

physicians by the Defendants. Due to Defendants' wrongful conduct as alleged herein, Plaintiffs

could not have known about the risks and side effects associated with Dilantin until after

Plaintiff ingested it.

        141.      Contrary to such implied warranty, Dilantin was not of merchantable quality and

was not safe or fit for its intended use.

        142.      As a direct and proximate result of Defendants' breach of implied warranty,

Plaintiffs suffered conscious pain and suffering, injury and harm as previously alleged herein.

        143.      Defendants' aforementioned conduct was committed with knowing, conscious,

and deliberate disregard for the rights and safety of consumers such as Plaintiffs, thereby

entitling Plaintiffs to punitive damages in an amount to be determined at trial that is appropriate

to punish Defendants and deter them from similar conduct in the future.

                                   FIFTH CLAIM FOR RELIEF

                              BREACH OF EXPRESS WARRANTY

        144.      Plaintiffs incorporate by reference each and every paragraph of this complaint as

though set forth in full in this cause of action.

        145.     Defendants expressly warranted that Dilantin was safe and well accepted by

consumers and was safe for long-term use. Specifically, Defendants represented to healthcare

professionals and the public, including Plaintiffs, that Dilantin was a safe and effective seizure

management product and that it could be safely and appropriately used by all populations.

Additionally, Defendants aggressively marketed Dilantin to the public and healthcare

professionals, including Plaintiffs, for use in all populations for the long-term prevention of

seizures.      Defendants have sponsored considerable television, print and internet advertising




                                                                                            PAGE 51
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 52 of 59




 initiatives that falsely over-promoted the benefits, and understated the risks, of Dilantin

 including directly to Plaintiffs.      Had Defendants included the critical safety information

 referenced above in their advertising and promotional campaigns, Plaintiffs would not have

 used or been prescribed Dilantin. Moreover, Plaintiffs allege that the Dilantin label itself is an

 express warranty regarding the safe and effective nature of the drug; that in addition to the

 advertisements referenced above, Plaintiffs' prescribing physician relied on the label with

 respect to the administration of Dilantin to Plaintiffs.

           146.   Dilantin does not conform to these express representations because it is not "safe"

 as represented by Defendants for the reasons stated above, including but not limited to "safe"

 for use by individuals such as Plaintiffs.

           147.   Plaintiffs were not aware of the falsity of the foregoing representations, nor were

 Plaintiffs aware that material facts concerning the safety of Dilantin had been concealed or

 omitted. In reliance upon Defendants' warranties that Dilantin was safe for use by the public

 (and the absence of disclosure of the serious health risks), A.D. was prescribed Dilantin. Had

 Plaintiffs known the true facts concerning the risks associated with Dilantin, Plaintiffs would

 not have purchased or A.D. would not have taken it and would not have been injured. By virtue

 of their wrongful conduct described herein, Defendants breached their express warranties to

 Plaintiffs. As a direct and proximate result, Plaintiffs suffered the actual damages described

 herein.

                                   SIXTH CLAIM FOR RELIEF

                  NEGLIGENCE AND NEGLIGENT MISREPRESENTATION

           148.   Plaintiffs incorporate by reference each and every paragraph of this Complaint as

though set forth in full in this cause of action.




                                                                                             PAGE 52
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 53 of 59




        149.      Defendants owed a duty to prescribers and consumers of Dilantin, including

Plaintiffs, to use reasonable care in designing, testing, labeling, manufacturing, marketing,

supplying, distributing and selling Dilantin, including a duty to ensure that Dilantin did not cause

users to suffer from unreasonable, unknown, and/or dangerous side effects.

        150.      Defendants failed to exercise reasonable care in the warning about, designing,

testing, labeling, manufacture, marketing, and/or distributing Dilantin and breached their duties

to Plaintiffs in that they did not warn of the known risks associated with the use of Dilantin and

did not exercise an acceptable standard of care.            Moreover, the product lacked sufficient

warnings of the hazards and dangers to users of said product and failed to provide safeguards to

prevent the injuries sustained by Plaintiffs. Defendants failed to properly test Dilantin prior to its

sale and, as a result, subjected users to an unreasonable risk of injury when those products were

used as directed and recommended.

        151.      Defendants additionally breached their duty and were negligent in their actions,

misrepresentations, and omissions toward Plaintiffs in the following ways:

        a. Failed to exercise due care in designing, developing, and manufacturing Dilantin so

               as to avoid the aforementioned risks to individuals using these products;

        b. Failed to include adequate warnings with Dilantin that would alert Plaintiffs, their

               prescribing physician and other consumers to its potential risks and serious side

               effects;

        c. Failed to adequately and properly test Dilantin before placing it on the market;

        d. Failed to conduct sufficient testing on Dilantin, which if properly performed, would

               have shown that Dilantin had serious side effects, including, but not limited to,

               cerebellar atrophy and cognitive deficits;




                                                                                              PAGE53
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 54 of 59




         e. Failed to adequately warn Plaintiffs and their prescribing physicians that use of

               Dilantin carried a risk of cerebellar atrophy, cognitive deficits and other serious side

               effects;

         f.    Failed to provide adequate post-marketing warnings or instructions after Defendants

               knew, or should have known, of the significant risks of cerebellar atrophy and

               cognitive deficits from the use of Dilantin;

         g. Placed an unsafe product into the stream of commerce; and

         h. Were otherwise careless or negligent.

        152.       Defendants knew, or should have known, that Dilantin caused unreasonably

dangerous risks and serious side effects of which Plaintiffs would not be aware. Defendants

nevertheless advertised, marketed, sold and/or distributed Dilantin knowing of its unreasonable

risks of injury.

        153.       Defendants knew or should have known that consumers such as Plaintiffs would

suffer injury as a result of Defendants' failure to exercise reasonable care as described above.

        154.       Upon information and belief, Defendants knew or should have known of the

defective nature of Dilantin, as set forth herein, but continued to design, manufacture, market,

and sell Dilantin so as to maximize sales and profits at the expense of the health and safety of the

public, including Plaintiffs, in conscious and/or negligent disregard of the foreseeable harm

caused by Dilantin.

        155.       Defendants failed to disclose to Plaintiffs and the general public facts known or

available to them, as alleged herein, in order to ensure continued and increased sales of Dilantin.

This failure to disclose deprived Plaintiffs of the information necessary for Plaintiffs and their

prescribing physicians to weigh the true risks of taking Dilantin against the benefits.




                                                                                               PAGE 54
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 55 of 59




           156.   As a direct and proximate result of Plaintiffs' use of Dilantin, A.D. suffered

serious bodily injury, including but not limited to, cerebellar atrophy cognitive deficits.

           157.   By virtue of Defendants' negligence, Defendants have directly, foreseeable and

proximately caused Plaintiffs to suffer serious bodily injury and other losses. As a result, the

imposition of punitive damages against Defendants is warranted.

                                 SEVENTH CLAIM FOR RELIEF

                                      GROSS NEGLIGENCE

           158.   Plaintiffs incorporate by reference each and every paragraph of this Complaint as

though set forth in full in this cause of action.

           159.   Defendants had a duty to exercise reasonable care in the warning about, design,

testing, manufacture, marketing, labeling, sale, and/or distribution of Dilantin, including a duty

to

           ensure that Dilantin did not cause users to suffer from unreasonable and dangerous side

effects.

           160.   Defendants failed to exercise reasonable care in the wammg about, design,

testing, manufacture, marketing, labeling, sale, and/or distribution of Dilantin, in that Defendants

knew or should have known that taking Dilantin caused unreasonable and life-threatening

mJunes.

           161.   Defendants are grossly negligent in the wammg about, design, testing,

manufacture, marketing, labeling, sale, and/or distribution ofDilantin.

           162.   Although Defendants knew, or recklessly disregarded, the fact that Dilantin

caused potentially lethal side effects, Defendants continued to market Defendants' product

Dilantin to consumers, including Plaintiffs, without disclosing these side effects.




                                                                                              PAGE 55
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 56 of 59




        163.   Defendants knew and/or consciously or recklessly disregarded the fact that

consumers such as Plaintiffs would suffer injury as a result of Defendants' failure to exercise

reasonable care as described above.

       164.    Defendants knew of, or recklessly disregarded the defective nature of Dilantin, as

set forth herein, but continued to design, manufacture, market, and sell Dilantin so as to

maximize sales and profits at the expense of the health and safety of the public, including

Plaintiffs, in conscious and/or reckless disregard of the foreseeable harm caused by Dilantin.

       165.    As a direct and proximate result of the gross negligence, willful and wanton

misconduct, or other wrongdoing and actions of Defendants described herein, which constitute a

deliberate act or omission with knowledge of a high degree probability of harm and reckless

indifference to the consequences, Plaintiffs suffered conscious pain and suffering, and suffered

injury and harm as previously alleged herein.

       166.    As a direct and proximate result of the gross negligence, willful and wanton

misconduct, and other wrongdoing and actions of Defendants, which constitute a deliberate act

or omission with knowledge of a high degree probability of harm and reckless indifference to the

consequences, Plaintiffs were injured.

       167.    Defendants' aforementioned conduct was committed with knowing, conscious,

and/or deliberate disregard for the rights and safety of consumers such as Plaintiffs, thereby

entitling Plaintiffs to punitive damages in an amount appropriate to punish Defendants and deter

them from similar conduct in the future.




                                                                                           PAGE 56
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 57 of 59




                                     EIGHTH CLAIM FOR RELIEF

               ALTER EGO, CORPORATE LIABILITY AND CIVIL CONSPIRACY

        168.    Plaintiffs incorporate by reference each and every paragraph of this complaint as

though set forth in full in this cause of action.

        169.    At all times material, each of the Defendants was the agent, servant, partner, aider

and abettor, co-conspirator and/or joint venturer of each of the other Defendants herein and were

at all times operating and acting within the purpose and scope of said agency, service,

employment, partnership, conspiracy and/or joint venture and rendered substantial assistance and

encouragement to the other Defendants, knowing that their conduct constituted a breach of duty

owed to Plaintiffs.

        170.    Defendants entered into a civil conspiracy and agreements whereby they created

an atmosphere of misrepresentations and deceit which allowed Defendants to sell Dilantin

without adequate warnings to prescribing physicians and patients.

        171.    There exists and, at all times herein mentioned, there existed a unity of interest in

ownership between Defendants such that any individuality and separateness between Defendants

has ceased and these Defendants are alter ego of each other and exerted control over each other.

Adherence to the fiction of separate existence of Defendants as an entity distinct from other

certain Defendants will permit an abuse of the corporate privilege and would sanction a fraud

and would promote injustice.

        172.    Defendants were engaged in the business of, or were successors in interest to

entities engaged in the business of researching, designing, formulating, compounding, testing,

manufacturing, producing, processing, assembling, inspecting, distributing, marketing, labeling,

promoting, packaging, prescribing and/or advertising for sale, and selling Dilantin for the use




                                                                                             PAGE 57
       Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 58 of 59




and ingestion by Plaintiffs and other users. As such, each Defendant is individually as well as

jointly and severally liable to the Plaintiffs for Plaintiffs' damages.

        173.    At all times herein mentioned, the officers and/or directors of the Defendants

participated in, authorized and/or directed the production and promotion of the aforementioned

products when they knew or, with the exercise of reasonable care and diligence, should have

known of the hazards and dangerous propensities of Dilantin and thereby actively participated in

the tortious conduct which resulted in the injuries suffered by Plaintiffs.

                                VII.      PRAYER FOR RELIEF

        Plaintiffs respectfully request the following relief against all Defendants:

        a.     Awarding all actual, compensatory and punitive damages to Plaintiffs in amount

to be determined at trial;

       b.      Awarding pre-judgment and post-judgment interest to Plaintiffs;

       c.      Awarding the costs and expenses of litigation to Plaintiffs;

        d.     Awarding reasonable attorneys' fees to Plaintiffs; and

        e.      Such further relief as this Court deems necessary, proper and just.




                                                                                        PAGE 58
     Case 2:18-cv-02501-JCJ Document 1 Filed 06/14/18 Page 59 of 59




                                DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury on all issues so triable in this civil action.

DATED: June 13, 2018

                                                      Respectfully submitted,



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